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Form DC-135A                                                                        Commonwealth of Pennsylvania
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                                                                                      D 995' rtme ” tofC OF'BCt''On8
              INMATE’S REQUEST TO STAFF MEMBER
      iI                                                                                   INSTRUCTIONS
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g;
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                           7
                                                                       Complete items number 1-8. If you follow instructions in
               ,       ,
                                                                       preparing your request, it can be responded to more
                                                *              '
                                                                                and intell
1.        7
              To: (Name and Title O?Ofﬁcer)                            2.   Date:


3.             By: (Print Inmate Name and Number)                      4.   Counselor’s Name
                                 at»

                                                                       5.   Unit Manager's Name

                               Inmate
6.            Work Assignment                                          7.   Housing Assignment


8.            Subject: State your request completely but brieﬂy. Give details.




T0 DC-14 CAR only                 El                                   T0 DC—14 CAR and DC-15 IRS        I]

 Staff Member Name                      '                          /                              Date
                                                    _                                _


                                               Pnnt                                 Sign


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Form DC-135A                                                                   Commonwealth of Pennsyivania
                                                                                      ”apartment Of corred‘ons
      INMATE’S REQUEST TO STAFF MEMBER
                                                                                       lNSTRUCTiONS
                                                                  Complete items number 1-8. If you follow instructions in
                                                                  preparing your request, it can be responded to more
                                                                  promptly and intelligently.
1.    To: (Name and Title    of Ofﬁcer)                           2.   Date:


3.    By: (Print inmate Name and Number)                          4.   Counselor's Name


                                                                  5.   Unit Manager’s Name

                      Inmate Signature
6,    Work/Assignment                                             7.   Housing Assignment


8.    Subject: State your request completely but briefly. Give details.




 9.    Response: (This Section for Staff Response Oniy)




To DC—14 CAR only           [:3                               1
                                                                  To   00-14 CAR and       DC—151RS    [3


 Staff Member Name                                        /                     .
                                                                                                Date
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 Revised July 2000
